                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Zhang,                                                )
                                                       )
                                           Plaintiff,  ) Case No.: 1:24-cv-06834
 v.                                                    )
                                                       ) Dist. Judge Jeremy C. Daniel
 The Individuals, Corporations, Limited                )
 Liability Companies, Partnerships, And                ) Mag. Judge Sheila M. Finnegan
 Unincorporated Associations Identified                )
 On Schedule A To The Complaint,                       )
                                           Defendants. )

                     Notice of Unopposed Motion for Extension of Time

PLEASE TAKE NOTICE that on October 29, 2024 at 9:30am or as soon thereafter as I may be

heard, I shall appear before the Honorable Judge Jeremy C. Daniel in Room 1419 of the Everett

McKinley Dirksen United States Courthouse 219 South Dearborn Street Chicago, IL 60604, or

using video or teleconferencing technology as the Court may require, and shall present the

Unopposed Motion for Extension of Time [Dkt. 107].

Dated this October 21, 2024

                                                             Respectfully Submitted,

                                                             /s/Adam E. Urbanczyk
                                                             Adam E. Urbanczyk
                                                             Brian Swift
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